Case 15-40749-elm13 Doc 109 Filed 05/22/20            Entered 05/22/20 09:12:42     Page 1 of 2




RICHARD M. WEAVER & ASSOCIATES
5601 AIRPORT FREEWAY
FORT WORTH, TX 76117
817-222-1108

                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION


IN RE                                             §         CASE NO.15-40749
Janet S Hotsko,                `                  §
       DEBTOR(S)                                  §         Chapter 13
                                                  §
                                                  §         Judge Edward L. Morris

 DEBTOR'S REPLY TO THE RESPONSE TO NOTICE OF FINAL CURE PAYMENT
 FILED BY(CREDITOR) AND REQUEST FOR DETERMINATION OF FINAL CURE
                 AND PAYMENT UNDER RULE 3002.1(h)

TO THE HONORABLE JUDGE OF THIS COURT:

       COMES NOW Janet S Hotsko, Debtor in the above-styled and numbered cause, and
files Debtor's Reply to the Response to Notice of Final Cure Payment Filed by CREDITOR
requesting the Court for a determination of final cure and payment under Rule 3002.1(h).
Debtor respectfully shows the Court as follows:

       1. Debtor filed a Chapter 13 Petition for Relief February 24, 2015.

       2. The Chapter 13 Trustee filed a Notice of Final Cure Payment April 29, 2020.

       3. US Bank Trust / BSI Financial Services, "Creditor" filed a Response to Notice of Final
Cure May 20, 2020 alleging the Debtor owed post-petition mortgage arrears of $2,047.06.


       4. Debtor denies she owes post-petition mortgage arrears.


       5. Debtor requests the Court make a Determination of Final Cure and Payment under
Rule 3002.1(h) and find the Debtor is current in her post-petition mortgage payments.
Case 15-40749-elm13 Doc 109 Filed 05/22/20            Entered 05/22/20 09:12:42        Page 2 of 2




       WHEREFORE, PREMISES CONSIDERED, Debtor respectfully prays an Order be
entered consistent with the foregoing Debtor's Reply and for such other and further relief as the
Court may deem just and appropriate.

SIGNED this the 22nd day of May, 2020

                                            Respectfully Submitted,

                                              /s/ Richard Weaver
                                              Richard M. Weaver, Attorney at Law
                                              SBN: 21010820
                                              5601 Airport Freeway
                                              Fort Worth, TX 76117
                                              817-222-1108
                                              817-222-1168 Fax
                                              ATTORNEY FOR DEBTOR

                                  CERTIFICATE OF SERVICE

         This is to certify that the above and foregoing Reply was served by either Electronic
Filing or First Class United States Mail, postage prepaid, on each of the following parties, and to
all parties requesting notice, on the 22nd day of May, 2020

Janet Hotsko
Debtor
510 Leatherwood Lane
Greenville, TX 75402

Tim Truman
Chapter 13 Trustee
6851 NE Loop 820, Ste 300
NRHills, TX 76180

William T. Neary
United States Trustee

Ghidotti Berger LLP
600 E John Carpenter Fwy, Ste 175
Irving, TX 75062
Attorney of Record for CREDITOR

US Bank Trust / BSI Fiancial Services
314 S Franklin St 2nd Flr
Titusville, PA 16354
                                                     /s/Richard M. Weaver
                                                     Richard M. Weaver
